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                                                                      Marguerite           PageID.2836
                                                                                 Maddox champions mobility rights,Filed
                                                                                                                  one city11/27/24        Page 1 of 13
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 HOW TO THRIVE



Meet Marguerite Maddox — the Detroiter championing mobility rights,
one city meeting at a time
Unstoppable advocate is well-known for amplifying the need to make Detroit more inclusive and accessible

         by Laura Herberg
         March 26, 2024




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https://outliermedia.org/marguerite-maddox-detroit-public-meetings-disability-rights-accessibility/                                                          1/13
10/10/24, 11:53 PM                Case 2:22-cv-12951-JJCG-APP     ECF
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                                                                                 Maddox champions mobility rights,Filed
                                                                                                                  one city11/27/24        Page 2 of 13
                                                                                                                           meeting at a time




Marguerite Maddox listens to a Detroit City Council meeting on March 12. Photo credit: Laura Herberg



https://outliermedia.org/marguerite-maddox-detroit-public-meetings-disability-rights-accessibility/                                                      2/13
10/10/24, 11:53 PM                Case 2:22-cv-12951-JJCG-APP     ECF
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                                                                      Marguerite           PageID.2838
                                                                                 Maddox champions mobility rights,Filed
                                                                                                                  one city11/27/24        Page 3 of 13
                                                                                                                           meeting at a time

Marguerite Maddox stood up and wheeled her walker to the lectern at a Detroit City Council meeting in mid-
March. Her service dog, a yellow Labrador named Scarlet, was by her side.

Normally, public commenters at City Council meetings get just two minutes to speak, but for Maddox, the time
limit is almost always waived.

If you’ve attended a city meeting in Detroit, you’ve likely heard Maddox speak: She’s been participating in
public comment for decades. For the past few months, she’s been attending only online, using the name
“Marguerite Maddox & Scarlet.”

“This is my first time back here this year,” the 68-year-old Detroiter told councilmembers, slowly and
deliberately. She has cerebral palsy, which can make it difficult to articulate and move muscles associated
with speech. She is also hard of hearing.

“I’ve been listening to everything, trying to hear everything, and it was hard for me to pick up on different
voices,” Maddox told councilmembers, while Scarlet sniffed the floor.

Even though Maddox had been sitting in the front row, some councilmembers and presenters didn’t speak
loud enough for her to hear. Multiple times, Maddox interrupted the meeting to ask them to speak up. During
her public comment, she asked the city’s media department to make adjustments “in a way that we can hear
everything … (for) me and others that have hearing loss.”

Maddox uses various methods to help her understand what people are saying. At this council meeting, she
wore a Reizen Mighty Loud, a device with a tiny microphone that pumps up the sound from a room into
headphones. She was also looking at her phone and the screens mounted in the Committee of the Whole
https://outliermedia.org/marguerite-maddox-detroit-public-meetings-disability-rights-accessibility/                                                      3/13
10/10/24, 11:53 PM                Case 2:22-cv-12951-JJCG-APP     ECF
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                                                                      Marguerite           PageID.2839
                                                                                 Maddox champions mobility rights,Filed
                                                                                                                  one city11/27/24        Page 4 of 13
                                                                                                                           meeting at a time

Room to watch sign language interpreters and read
closed captioning, two services that Maddox urged
the city for a decade to implement.

“I complained about that year after year, year after
year, and nothing was being done about it until in
June or July of 2020,” Maddox told us. “It should
have never taken that long.”




                                                                                                      Marguerite Maddox, who is hard of hearing, takes advantage of closed
                                                                                                      captioning and sign language interpreters at public meetings whenever
                                                                                                      possible. She also listens to the meeting through a device that amplifies
                                                                                                      the sound around her. Photo credit: Laura Herberg




https://outliermedia.org/marguerite-maddox-detroit-public-meetings-disability-rights-accessibility/                                                                          4/13
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                                                                      Marguerite           PageID.2840
                                                                                 Maddox champions mobility rights,Filed
                                                                                                                  one city11/27/24        Page 5 of 13
                                                                                                                           meeting at a time




              Marguerite Maddox speaking during public comment at a City Council meeting on March 12, 2024. Video credit: Laura Herberg




https://outliermedia.org/marguerite-maddox-detroit-public-meetings-disability-rights-accessibility/                                                      5/13
10/10/24, 11:53 PM                Case 2:22-cv-12951-JJCG-APP     ECF
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                                                                      Marguerite           PageID.2841
                                                                                 Maddox champions mobility rights,Filed
                                                                                                                  one city11/27/24        Page 6 of 13
                                                                                                                           meeting at a time

‘Like Energizer batteries’

Making city meetings accessible for people with disabilities is just one of the issues that compels Maddox to
regularly give public comment at meetings for the Detroit Department of Transportation, Board of Police
Commissioners and more. She even comments on City Council budget hearings. She cares about clean air,
getting buses close to the curb so people who use a wheelchair or walker can board, and ensuring police
know how to interact with people of color like herself. Her top issue right now, however, is sidewalk
accessibility.

While walking from her senior apartment complex in New Center to the QLine stop about half a mile away,
Maddox had on a bright orange-and-yellow reflective vest.

“Everywhere I go, I wear this vest for safety,” she said. Scarlet was leashed to Maddox’s walker as the pair
moved into the roadway to avoid a driveway made up of bumpy asphalt.

Not long after, she pointed out a stretch of sidewalk with freshly poured cement that Maddox had bugged the
city to repair.

“This did not come without me voicing my opinion,” Maddox said.

Maddox is incredibly vocal about the sidewalk conditions in her area, but she doesn’t just raise her voice
about mobility concerns on the routes she takes. She teamed with Lisa Franklin of Warriors on Wheels of
Metropolitan Detroit to report accessibility issues all over the city, with Maddox working as the photographer.



https://outliermedia.org/marguerite-maddox-detroit-public-meetings-disability-rights-accessibility/                                                      6/13
10/10/24, 11:53 PM                Case 2:22-cv-12951-JJCG-APP     ECF
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                                                                      Marguerite           PageID.2842
                                                                                 Maddox champions mobility rights,Filed
                                                                                                                  one city11/27/24        Page 7 of 13
                                                                                                                           meeting at a time

Franklin recalled how about a decade ago — days
before the annual fireworks show on the Detroit
River — the two of them urged the city to fix a
broken ramp that was the only way for people using
wheelchairs to access Hart Plaza.

“There was a huge dip there where the concrete
was broken, and wheelchairs could not cross that
path,” Franklin said. She and Maddox showed up to
a City Council meeting with photos. “They had that
area paved over and (added) a new grate before the
fireworks. It was within 10 days.”

Through her advocacy, Maddox has developed a bit
of a reputation.

“Marguerite Maddox is truly a Detroit and American
treasure,” City Council President Mary Sheffield said
in an email to Outlier Media. “Her poignant efforts to
hold government accountable to the people is a
blessing to the masses particularly those in the
disabled community. If every community had a
Marguerite Maddox, the world would be a far better
place.”

                                                                                                      Marguerite Maddox, 68, prefers to ride the QLine over the bus when she
https://outliermedia.org/marguerite-maddox-detroit-public-meetings-disability-rights-accessibility/                                                                       7/13
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                                                                      Marguerite           PageID.2843
                                                                                 Maddox champions mobility rights,Filed
                                                                                                                  one city11/27/24        Page 8 of 13
                                                                                                                           meeting at a time




Councilmember Fred Durhal III, who chairs the                                                         has time because she finds it easier to board with her rolling walker.
council’s Disability Task Force, said in an email that                                                Photo credit: Laura Herberg
he appreciates the way Maddox doesn’t let barriers
prevent her from doing her part to hold city officials
accountable.

“Ms. Maddox challenges us to ensure universal ADA (Americans with Disabilities Act) design is incorporated
in developments across the city, to create better transportation and para-transit systems, and to fix our
sidewalks and infrastructure,” he said.

And it’s not just politicians who’ve noticed Maddox’s efforts — she stands out in the advocacy community,
too.

“She goes to many meetings, more than I could stomach,” said Michael Cunningham II, a transit advocate
known for handing out bus tickets and hand warmers in his free time. “She doesn’t mind saying what’s on her
mind … and she’s like Energizer batteries. She keeps going, and going, and going — for the good of the
people.”



A born fighter

Maddox has been fighting since she came into the world. In 1955, she was born with an identical twin sister.

https://outliermedia.org/marguerite-maddox-detroit-public-meetings-disability-rights-accessibility/                                                                            8/13
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                                                                      Marguerite           PageID.2844
                                                                                 Maddox champions mobility rights,Filed
                                                                                                                  one city11/27/24        Page 9 of 13
                                                                                                                           meeting at a time

“She was the bigger one,” Maddox said, while eating
French toast and eggs at a downtown Coney Island.

Both girls had jaundice and were given a blood
transfusion, Maddox said. Despite being smaller in
size, Maddox survived, but her sister did not.

If her twin had made it, “we would have been each
other’s best friends.”

Maddox said she was one of eight children, but grew
up with just two siblings — twin brothers. Their
biological mother, as Maddox makes a point of
calling her, had abandoned them, and their maternal
grandmother stepped in to raise them.                                                                 Marguerite Maddox took this photo last October on Third Street north of
                                                                                                      Lothrop Road in Detroit to show the broken asphalt interrupting the
“The doctors, so-called ‘medical professionals,’ told                                                 sidewalk. She says it was just repaired about two weeks ago. Photo
my grandmother that I would never walk or talk like a                                                 credit: Courtesy of Marguerite Maddox
normal person,” Maddox recalled. “They advised her
to put me in the institution.

“My grandmother said, ‘No. She’s going to learn how to read. She’s going to learn how to talk. She’s going to
be a normal person.”



https://outliermedia.org/marguerite-maddox-detroit-public-meetings-disability-rights-accessibility/                                                                        9/13
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                                                                     Marguerite          PageID.2845
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                                                                                                 mobility rights,        11/27/24
                                                                                                                  one city                Page 10 of 13
                                                                                                                           meeting at a time

It was her grandmother who first took Maddox to civic meetings, back when she was a teenager in Southwest
Detroit.

“She would take us, meaning my brothers and I, to City Council meetings to see what would go on behind
decisions.”

Maddox said she went on to be the first person in her family to graduate high school. She went on to attend
Madonna College — now known as Madonna University — where she studied natural sciences, but she
dropped out after issues with a roommate.

In the 80s and 90s, Maddox completed adult education courses on physical therapy, computer applications
and auto mechanics. But she didn’t end up working in any of these fields. “They did not think that I could do
the job because people may not want to give me a chance,” she said.

Instead, Maddox went on to be an athlete. She competed in Paralympics around the world, including the 1988
Paralympic Games in Seoul, South Korea, where she placed fourth in the 100-meter dash.

Back in the United States, Maddox got involved in long-distance cycling. She participated in a ride from
Atlanta to Washington, D.C. that included cyclists with and without disabilities.

“It did not matter what color you were. It did not matter what background you came from. We were all riding
the same road together.”

To train for these long-distance bike rides, Maddox cycled all around Detroit, the suburbs, rural areas and
back.
https://outliermedia.org/marguerite-maddox-detroit-public-meetings-disability-rights-accessibility/                                                       10/13
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                                                                                                 mobility rights,        11/27/24
                                                                                                                  one city                Page 11 of 13
                                                                                                                           meeting at a time

“There were some times when I would ride 50-75
miles in one day,” she said. She doesn’t often ride
anymore mostly because she doesn’t want to leave
Scarlet home alone. “I miss the freedom.”



Showing up

As soon as Maddox and Scarlet stepped into the
elevator at the Coleman A. Young Municipal Center
downtown, she was recognized.

“Good morning, Miss Marguerite,” said a woman
who works in the Mayor’s Office. Maddox smiled
back.

Once off the elevator, Maddox took a detour down
the hall to say hello to a receptionist friend she made
from coming down here. The woman stood up with a
huge smile on her face and danced back and forth
waving at Maddox. Maddox smiled and waved back.

“She knows that I come down here to see how she’s
doing,” Maddox said.
                                                                                                      While Marguerite Maddox ran errands downtown, she stopped to buy
https://outliermedia.org/marguerite-maddox-detroit-public-meetings-disability-rights-accessibility/                                                                      11/13
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                                                                     Marguerite          PageID.2847
                                                                                Maddox champions               Filed
                                                                                                 mobility rights,        11/27/24
                                                                                                                  one city                Page 12 of 13
                                                                                                                           meeting at a time




Inside the Committee of the Whole Room, it wasn’t                                                     Ramen noodles for herself and vitamins for her service dog, Scarlet.
long before people started coming up to her. One of                                                   Photo credit: Laura Herberg
them was Raymond Simpson, a staffer for City
Council President Mary Sheffield, who simply
wanted to say hello. The last time he saw Maddox in
person, he gave her a ride to an event at Detroit
Public Safety Headquarters. Maddox had been
planning to take the bus, but it would have made her
late.

“She’s always showing up and showing out,”
Simpson said. “She’s always, always around.”

Councilmember Scott Benson also greeted her.

“You are on my mind,” Benson told her, in the
minutes before the meeting. “The other day, we saw
something on Woodward around the MSU center
where they’re taking the sidewalk away.”                                                              Detroit City Councilmember Scott Benson talks to mobility advocate
                                                                                                      Marguerite Maddox before the City Council meeting on March 12. Photo
                                                                                                      credit: Laura Herberg
“Yeah?” Maddox asked eagerly.

“There’s no sidewalk,” Benson said. “That day, I saw somebody who couldn’t get around, they had to walk
their walker into the street into Woodward to go across the street. No crosswalk. So it’s very dangerous. So
https://outliermedia.org/marguerite-maddox-detroit-public-meetings-disability-rights-accessibility/                                                                          12/13
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                                                                     Marguerite          PageID.2848
                                                                                Maddox champions               Filed
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                                                                                                                  one city                Page 13 of 13
                                                                                                                           meeting at a time

we’re working on it.”

After Benson walked away, Maddox squeezed her fist and squealed with joy. She said she felt proud.

“Trying to make this city more accessible for everyone, it’s everybody’s responsibility.”


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